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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
________________________________

UNITED STATES OF AMERICA,                      15-CR-122-FPG
                                               REPORT AND RECOMMENDATION
        -v-

DANIEL MOLINA-RIOS,

                Defendant.
________________________________

        Currently before the Court is defendant Daniel Molina-Rios’ motion to suppress

evidence seized from 74 Fillmore Avenue, Buffalo, New York, on June 18, 2015,

pursuant to a search warrant issued by Hon. Jeremiah J. McCarthy. (See Dkt. No. 28

¶¶51-58).     Defendant argues that the affidavit submitted in support of the search

warrant application did not establish probable cause as it was based on conclusory

statements rather than factual averments. Defendant also argues that the description of

the location to be searched contained in the search warrant did not meet the

particularity requirement of the Fourth Amendment.     By Text Order filed March 30,

2016, the presiding judge in this case, Hon. Frank P. Geraci, Jr., referred the instant

motion to this Court, pursuant to 28 U.S.C. §§636(b)(1)(B) and (C), for report and

recommendation. (Dkt. No. 45). Oral argument on the motion was held on August 12,

2016.     The Court asked for additional briefing from the government, which the

government provided on August 19, 2016. (Dkt. No. 58). The Court also allowed the

defendant until August 26, 2016, to file any additional submissions he thought

appropriate. No such submissions were filed.
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      After reviewing the search warrant and search warrant application at issue, as

well as the submissions of the parties, and after hearing argument from counsel, the

Court recommends that defendant’s motion to suppress evidence be denied.

                                     DISCUSSION

      I.     Lack of Standing

      Defendant’s motion should be denied because he has failed to show that he has

the requisite standing to challenge the allegedly illegal search. “A defendant seeking to

suppress evidence must demonstrate by a preponderance of the evidence that he had a

reasonable expectation of privacy in the location or items searched.” United States v.

Hemingway, No. 05-CR-6108L, 2007 WL 499470, at *8 (W.D.N.Y. Feb. 13, 2007) (citing

Rakas v. Illinois, 439 U.S. 128, 143 (1978)).     The burden of establishing such an

expectation of privacy or “standing” falls squarely upon the defendant. Rawlings v.

Kentucky, 448 U.S. 98, 104 (1980). This burden to show standing “is met only by sworn

evidence, in the form of affidavit or testimony, from the defendant or someone with

personal knowledge.” United States v. Montoya-Eschevarria, 892 F. Supp. 104, 106

(S.D.N.Y. 1995).

      Here, defendant has failed to provide sworn testimony, in any form, showing that

he had any sort of reasonable privacy interest in the premises at 74 Fillmore Avenue.

He has not alleged any property or possessory interest in the premises. Nor has he

alleged any other connection to the property, such as being an occasional overnight

guest or visitor.   Thus, defendant has failed to show by a preponderance of the

evidence that he has standing to challenge the search, and his motion to suppress must

therefore be denied. See Hemingway, 2007 WL 499470, at *9.
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      II.    Probable Cause

      The Fourth Amendment requires a valid search warrant be issued based “upon

probable cause, supported by oath or affirmation, and particularly describing the place

to be searched, and the persons or things to be seized.” U.S. Const. amend. IV.

Probable cause is determined by a magistrate judge where the totality of the

circumstances indicate a fair probability that evidence of a crime will be found at the

place to be searched. United States v. Canfield, 212 F.3d 713, 718 (2d Cir. 2000)

(citing Illinois v. Gates, 462 U.S. 213, 238 (1983)). The probable cause analysis is

based on the magistrate judge’s application of common sense.           Id.   Further, a

magistrate judge’s finding of probable cause is entitled to substantial deference by the

reviewing court. United States v. Nichols, 912 F.2d 598, 602 (2d Cir. 1990); United

States v. Patterson, No. 12-CR-64-A, 2014 WL 692955, at *2 (W.D.N.Y. Feb. 21, 2014).

Any doubts regarding the existence of probable cause should be resolved in favor of

upholding the search warrant. United States v. Rosa, 11 F.3d 315, 326 (2d Cir. 1993).

      Affidavits filed in support of search warrants enjoy a presumption of validity.

Franks v. Delaware, 438 U.S. 154, 171 (1978). An affidavit in support of an application

for a search warrant demonstrates a proper showing of probable cause when it sets

forth facts which are sufficient to induce a reasonably prudent person to believe that a

search of the areas described within the warrant will uncover evidence of a crime.

Berger v. New York, 388 U.S. 41, 55 (1967). The government is not required to provide

every known fact or detail of the investigation in the affidavit. See United States v.

Lahey, 967 F. Supp. 2d 698, 716 (S.D.N.Y. 2013). Instead, an affidavit that is based on

reasonable inferences, common sense and the affiant’s past experience can establish
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sufficient probable cause. See United States v. Blocker, 269 F. App’x 117, 119 (2d Cir.

2008) (summary order); see also United States v. Fama, 758 F.2d 834, 838 (2d Cir.

1985) (“[A]n agent’s expert opinion is an important factor to be considered by the judge

reviewing a warrant application.”).

       Here, defendant’s motion to suppress should be denied as the search warrant

was supported by probable cause. The supporting affidavit of the investigating agent

contained the statement of a confidential informant, relevant portions of intercepted Title

III communications, and results from pole camera monitoring of 74 Fillmore Avenue, as

well as observations and inferences drawn by the agent based on his previous

experience and training, showing defendant’s participation in a large drug distribution

conspiracy and the use of 74 Fillmore Avenue as a location to store drugs and to

conduct drug trafficking activity. Particularly telling were selected portions of intercepted

phone conversations between defendant and his girlfriend, Desiree Morales,

demonstrating that defendant stored heroin at 74 Fillmore Avenue. Viewing the totality

of the facts and circumstances alleged in the supporting affidavit, through the lens of

common sense, the Court finds that there was sufficient probable cause for the

issuance of the search warrant.

       III.   Particularity

       Defendant contends that the search warrant did not describe the location to be

searched with sufficient particularity. The Court finds this argument to be without merit.

       A search warrant must describe with particularity “the place to be searched, and

the persons or things to be seized,” U.S. Const. amend. IV, to prevent a “general,

exploratory rummaging in a person’s belongings.” Coolidge v. New Hampshire, 403
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U.S. 443, 467 (1971). Affidavits that “identif[y] the place intended to be searched with

sufficient distinction to enable the officer executing the warrant to identify and locate the

place with a reasonable degree of effort,” satisfy the Fourth Amendment’s particularity

requirement. United States v. Pisano, 191 F. Supp. 861, 863 (S.D.N.Y. 1961) (finding

an error minor in regard to the incorrect street address where the executing officer did

not need to exert unreasonable effort to locate the intended premises); see also United

States v. Contee, 170 F. Supp. 26, 27 (D.D.C. 1959) (finding an error pertaining to the

address minor where the affidavit outlined additional details and the agents had prior

knowledge of the place intended to be searched); United States v. Kenney, 164 F.

Supp. 891, 893 (D.D.C. 1958) (finding lack of particularity in search warrant where the

only descriptive feature of a premises was an incorrect street address).

       Here, the description of the location to be searched was sufficiently particular to

pass muster under the Fourth Amendment. The search warrant described the property

to be searched, 74 Fillmore Avenue, in extensive detail, including the type of structure,

the color, and the location.      The search warrant also included as an exhibit a

photograph of the property. In addition, the search warrant specified that the portion of

74 Fillmore to be searched was limited to the lower section of the premises. The search

warrant also stated that the address number, “74,” was displayed on the front door.

Thus, even if the address number could not be viewed from the street, as defendant

contends, the executing agents could still identify the address number before entering

the premises.




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      IV.    Good Faith Exception

      The Court finds that defendant’s motion to suppress should also be denied based

on the “good faith exception” established in United States v. Leon, 468 U.S. 897 (1984).

Under Leon, evidence seized pursuant to a challenged warrant is admissible provided

the police acted with objective and reasonable good faith, even if the judicial officer

erred in finding probable cause. Id. at 922.

      Here, for the reasons stated above, the Court finds that the warrant at issue was

not so facially deficient that the executing officers should not have reasonably relied

upon it in good faith. In other words, a reasonably well-trained officer would not have

known that the search warrant in this case was illegal.

                                     CONCLUSION

      For the reasons stated above, the Court recommends that defendant’s motion to

suppress evidence seized from 74 Fillmore Avenue (Dkt. No. 28 ¶¶51-58) be denied.

      Pursuant to 28 U.S.C. §636(b)(1), it is hereby ORDERED that this Report and

Recommendation be filed with the Clerk of Court.

      Unless otherwise ordered by Judge Geraci, any objections to this Report and

Recommendation must be filed with the Clerk of Court within fourteen days of service of

this Report and Recommendation in accordance with the above statute, Rules 59(b),

45(a), and 45(c) of the Federal Rules of Criminal Procedure, and Local Rule of Criminal

Procedure 59. Any requests for an extension of this deadline must be made to Judge

Geraci.

      Failure to file objections, or to request an extension of time to file

objections, within fourteen days of service of this Report and Recommendation
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WAIVES THE RIGHT TO APPEAL THE DISTRICT COURT’S ORDER. See Small v.

Sec’y of Health & Human Servs., 892 F.2d 15 (2d Cir. 1989).

         The District Court will ordinarily refuse to consider de novo arguments, case law

and/or evidentiary material which could have been, but were not, presented to the

Magistrate Judge in the first instance. See Paterson-Leitch Co. v. Mass. Mun.

Wholesale Elec. Co., 840 F.2d 985, 990-91 (1st Cir. 1988).

         Pursuant to Local Rule of Criminal Procedure 59(c)(2), written objections “shall

specifically identify the portions of the proposed findings and recommendations to which

objection is made and the basis for each objection, and shall be supported by legal

authority.”   Failure to comply with these provisions may result in the District

Court’s refusal to consider the objection.

         SO ORDERED.
Dated:         September 15, 2016
               Buffalo, New York

                                                  /s/ Michael J. Roemer
                                                  MICHAEL J. ROEMER
                                                  United States Magistrate Judge




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